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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN
                              COURT FILE NO.: 18-cv-00482


Kristal Chaves,

              Plaintiff,
v.                                                     PLAINTIFF’S RESPONSE TO
                                                    DEFENDANT’S MOTION TO DISMISS

Ace Debt Recovery, LLC,
Kwik Trip, Inc.

              Defendant.


       Plaintiff submits this memorandum in response to Ace Debt Recovery, LLC’s Motion to

Dismiss Complaint (Doc. 11-12). After Ace Debt Recovery, LLC filed its Motion to Dismiss, the

Plaintiff filed an amended complaint. (Doc. 13). "When a plaintiff files an amended complaint,

the new complaint supersedes all previous complaints and controls the case from that point

forward.” Massey v. Helman, 196 F.3d 727, 735 (7th Cir. 1999). See also Spencer v. Thomas, 30

Fed. Appx. 636, 640 (7th Cir. 2002) (interpreting Massey to mean that "an amended complaint

supersedes and 'wipes away' all prior complaints"). Accordingly, the filing of the Amended

Complaint renders the Motion to Dismiss by Ace Debt Recovery, LLC as moot.




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                                      Respectfully submitted,

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